            Case 2:17-cv-01731-TSZ Document 112 Filed 04/24/19 Page 1 of 8



                                                          THE HONORABLE THOMAS S. ZILLY
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 5                                  U.S. DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON

 7   STRIKE 3 HOLDINGS, LLC, a Delaware
     corporation,
 8                                                      NO. 2:17-cv-01731-TSZ
                               Plaintiff,
 9                                                      COUNTERCLAIMANT’S RESPONSE
                                                        TO COUNTERDEFENDANT’S
10          vs.
                                                        MOTION TO EXTEND CERTAIN
                                                        CASE DEADLINES
11   JOHN DOE, subscriber assigned IP
     address 73.225.38.130,
12
                               Defendant.
13

14   JOHN DOE subscriber assigned IP
15   address 73.225.38.130,

16                             Counterclaimant,

17          vs.
18
     STRIKE 3 HOLDINGS, LLC,
19
                               Counterdefendant.
20

21

22                                          I. INTRODUCTION

23          Doe is a 75-year-old retired police officer and computer hobbyist who Strike 3 sued for

24   copyright infringement. The only evidence Strike 3 had to support its claim was that the IP

25   address assigned to Doe was allegedly seen by Strike 3’s Germany-based investigator

26   downloading one hash of one movie, using untested, unreliable software. ECF 1 at ¶¶ 1, 5, 12,

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     COUNTERCLAIMANT’S RESPONSE TO
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 1   24. Strike 3 admits that it cannot possibly know who infringed based on an IP address alone
 2   and insists that it must engage in discovery to be able identify infringers. See ECF 111 at 37
 3   (Deposition of Jessica Fernandez). Although Doe alleges Strike 3 can use other methods to
 4   deter infringement, it deliberately chose to bring over 3,000 lawsuits against IP address
 5   subscribers, and to engage in early discovery, regardless of whether the subscribers were
 6   responsible for infringement. See ECF 109 at 3.
 7          In this case, presumably because it learned that Doe did not fit the demographic of
 8   individuals who typically watch Strike 3’s films, Strike 3 decided it should dismiss its claims
 9   against Doe. ECF 53. By that time, Doe had been forced to hire an attorney. Embarrassed that
10   he was accused of downloading explicit pornography that he did not download, Doe asserts
11   counterclaims for abuse of process and a declaration of non-infringement. ECF 64.
12          The parties have been actively engaged in discovery since January. One unresolved
13   issue is how to address the computers Doe owns. The parties conferred about a protocol that
14   would define the scope of Strike 3’s inspection of Doe’s computers nearly a month ago. During
15   their conference, Strike 3 promised to consider and respond to Doe’s proposal. Strike 3 has not
16   done so.
17          Doe joins in Strike 3’s request to extend the deadline to file discovery-related motions.
18   As for the remaining deadlines, Doe does not oppose Strike’s request so as long as (1) Strike
19   3’s analysis of Doe’s computers is limited to searching for the hash values that are listed in
20   Exhibit A to the amended complaint; and (2) Strike 3 is not permitted to direct “fishing
21   expedition” discovery to persons other than Doe who may have used Doe’s IP address.
22                                             II. FACTS
23          Doe is a computer hobbyist who buys computers, comprised of desktops, laptops and
24   external drives, from places like Goodwill. Declaration of J. Curtis Edmondson (“Edmondson
25   Decl”), Exh. 3 (Transcript of John Doe) at 37:16-38:25; 103:11-104:8. Doe rehabilitates the
26   computers, after which he sells some of them, but gives away most. Id. at 43:3-44:22.
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 1          Doe’s counterclaim for a declaration of non-infringement requires that Strike 3 (rather
 2   than Doe) prove that Strike 3 has valid copyrights and that Doe copied all 87 works Strike 3
 3   alleges Doe infringed. See ECF 94 at 12 (discussing Medtronic, Inc., v. Mirowski Family
 4   Ventures, LLC, 571 U.S. 191, 198-201 (2014) and its application to copyright).
 5          On March 22th, Doe’s counsel sent Strike 3’s counsel a proposed protocol to address
 6   the scope of any inspection of Doe’s computers. Edmondson Decl., Exh. 1. On March 29th, the
 7   parties conferred about the protocol by phone and Strike 3 agreed to consider Doe’s proposal
 8   and get back to Doe’s counsel, but never did so. Id., ¶¶ 3-4.
 9          At Doe’s deposition, he testified that during the period of alleged infringement, the
10   primary computer he used for his personal needs was an ASUS desktop. Edmondson Decl.,
11   Exh. 3 at 109:4-12. In all, Doe has over 100 computers, all of which are in his attorneys’
12   possession, custody, and control. Id. at 222:6-17.
13          At Doe’s deposition, Strike 3 spent little time asking Doe about his own use of the
14   ASUS desktop or other computers. Most of Strike 3’s questions were directed toward who else
15   other than Doe may have used Doe’s IP address, or known about the use, including Doe’s wife,
16   son, daughter, grandson, brother-in-law, his son’s friends, and neighbors. Edmondson Decl.,
17   Exh. 3 at 7:7-16; 10:19-22:23; 40:24-43:2; 53:14-57:25; 64:1-65:23; 160:14-161:6; 210:1-16.
18                                        III. ARGUMENT
19   A.     Doe joins Strike 3’s request to extend the deadline for filing discovery motions.

20          Doe anticipates serving additional discovery requests to Strike 3 this week following
21   Strike 3’s recent deposition testimony. Edmondson Decl. ¶ 7. Because of Strike 3’s history of
22   declining to produce data and documents in response to requests for production, Doe joins in
23   Strike 3’s request to extend the deadline to bring discovery motions. Id.
24   B.     Strike 3’s inspection of Doe’s computers should be limited.
25          “[H]ash values are analogous to fingerprints and provide high confidence that the
26   contents of files associated with such hash values are known….” United States v. Blouin,
27
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 1   CR16-307 TSZ, 2017 WL 3485736, *4 (W.D. Wash. Aug. 15, 2017). Doe does not oppose a
 2   continuance to allow Strike 3 to inspect his computers for the hashes listed in Exhibit A to the
 3   amended complaint. However, Strike 3’s inspection should be limited only to the Exhibit A
 4   hashes, and should not extend beyond them to any other data, including to Doe’s private
 5   emails, correspondence, or finances.
 6          The delay Strike 3 complains about is largely of its own making. On March 22th, Doe
 7   sent Strike 3 a proposed protocol that would allow Strike 3 to search for the hash values on
 8   Exhibit A to the amended complaint. See Edmondson Decl., Exh. 1. On March 29th, the parties
 9   conferred about Doe’s proposal. Strike 3 agreed to consider Doe’s proposal and respond by the
10   following Monday. Id., Exh. 2. But Doe has not heard back from Strike 3 about the proposed
11   protocol since March 29th. Despite Strike 3’s delay, Doe is not opposed to an extension that
12   provides Strike 3 with sufficient time to inspect Doe’s computers if Strike 3’s inspection is
13   limited to a search for the hash values set forth in Exhibit A to the amended complaint.
14   C.     Strike 3 should not be permitted to seek discovery from family, friends, and
            neighbors regarding the use of Doe’s IP address.
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            The Court has previously prohibited parties like Strike 3 from using the discovery
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     process to engage in fishing expeditions. See Venice PI, LLC v. Sean O’Leary Jr., et al., C17-
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     0988 TSZ, ECF 27 (Nov. 3, 2017) (“Moreover, plaintiff may not, based solely on IP addresses,
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     launch a fishing expedition aimed at coercing individuals into either admitting to copyright
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     infringement or pointing a finger at family members, friends, tenants, or neighbors.”). Doe
20
     urges the Court to prohibit the same behavior here. Strike 3 sued Doe—not a class of persons
21
     who may have used Doe’s IP address. Therefore, Strike 3’s discovery should be properly
22
     directed toward Doe regarding his use of the IP address—not to other persons who may have
23
     used Doe’s IP address.
24
            Strike 3 should be prohibited from engaging in discovery of Doe’s family members or
25
     friends, which is precisely the type of discovery Strike 3 has already attempted. Strike 3 has
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     relentlessly sought to depose Doe’s son, who suffers from anxiety. See ECF 90 and 93. And
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 1   during Doe’s deposition, Strike 3 spent much of its time asking questions aimed toward
 2   determining who other than Doe could have used Doe’s IP address, while Strike 3’s questions
 3   about what Doe did with his computer were few and far between. Edmondson Decl., Exh. 3 at
 4   7:7-16; 10:19-22:23; 40:24-43:2; 53:14-57:25; 64:1-65:23; 160:14-161:6; 210:1-16.
 5          If the Court prohibits Strike 3 from engaging in discovery directed toward individuals
 6   based on their access to or use of Doe’s internet connection or computers, Doe does not oppose
 7   Strike 3’s proposed extension.
 8                                       IV. CONCLUSION
 9          Doe joins in Strike 3’s request to extend the deadline to bring discovery-related
10   motions. Doe does not oppose the remaining deadlines Strike 3 proposes so long as (1) Strike
11   3’s inspection of Doe’s computers is limited to Strike 3’s determination of whether the hashes
12   related to the 87 works listed on Exhibit A to the amended complaint are located on the
13   computers, and (2) Strike 3 is prohibited from taking discovery from individuals other than Doe
14   related to the use of Doe’s IP address by other users than Doe.
15          RESPECTFULLY SUBMITTED AND DATED this 24th day of April, 2019.
16
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                                      CERTIFICATE OF SERVICE
 1

 2          I, Adrienne D. McEntee, hereby certify that on April 24, 2019, I electronically filed the
 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
 4   such filing to the following:
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 1        DATED this 24th day of April, 2019.
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